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                                 Case No: 1:23-cv-00811-EGB

    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Larry Golden, Pro Se Plaintiff
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LARRY GOLDEN,
                 Plaintiff,                           Patent Infringement
                     V.

UNITED STATES DEPARTMENT                              July 19, 2023
OF HOMELAND SECURITY,
                Defendant.


               PLAINTIFF’S MOTION FOR DISQUALIFICATION

       The Code of Conduct for United States Judges applies to United States circuit judges,
district judges, Court of International Trade judges, Court of Federal Claims judges, bankruptcy
judges, and magistrate judges.
        See Rules for Judicial-Conduct and Judicial-Disability Proceedings, Rule 4(a)(2)
(providing that “cognizable misconduct includes: (B) treating litigants [], or others in a
demonstrably egregious and hostile manner… and Rule 4(a)(3) (providing that “cognizable
misconduct includes intentional discrimination on the basis of race…”).
       The duties of judicial office take precedence over all other activities. The judge should
perform those duties with respect for others, and should not engage in behavior that is harassing,
abusive, prejudiced, or biased. The judge should adhere to the following standards:
       (C) Disqualification. (1) A judge shall disqualify himself or herself in a proceeding in
       which the judge’s impartiality might reasonably be questioned, including but not limited
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       to instances in which: (a) the judge has a personal bias or prejudice concerning a party, or
       personal knowledge of disputed evidentiary facts concerning the proceeding;

       Plaintiff is asking the Judge to disqualify himself for the following reasons: 1- The DOJ
is forcing the Judge to comply by intimidation or threats. 2- This current case is to complicated
for the Judge. Exhibit A is a chart illustration of the case and should be adjudicated by someone
with prior patent litigation experience. Plaintiff recommends Judge Patricia Elaine Campbell-
Smith. 3- If after the Judge has read this document and see no wrong, Plaintiff is requesting the
Judge disqualify himself because of a personal bias or prejudice the Judge has against Plaintiff.


                                                                       Defense Presented by the
                                 CMDC Devices: Specifications,
   Patent #: 9,096,189;                                                  DOJ & DHS in the
                                  Descriptions, Meanings, and
  Independent Claim 1                                                   Related Case Golden v.
                                           Functions
                                                                           US No. 13-307C

                                                                          The DOJ/DHS made the
                                                                         Golden v. US Case No. 13-
                                                                        307C a case between private
                                                                       parties which places the case
                                                                       outside the COFC jurisdiction

                                                                         When the DOJ/DHS stated
                                 Following is an example of CMDC       the sensors must be “native to
  A communication device         Devices that are not limited to any      the manufacturing of the
   of at least one of a cell     particular brand, model, or type of   Apple and Samsung products,
   phone, a smart phone, a                   equipment:                   the DOJ/DHS knew they
    desktop, a handheld, a                                                were demanding proof of
     PDA, a laptop, or a        HP ZBook Fury 15.6 Inch G8 Mobile       direct infringement under 35
    computer terminal for      Workstation PC; Samsung Galaxy Book2        U.S.C. Sec. 271(a) as a
     monitoring products,        Pro 360 [PC Mode or Tablet Mode];           predicated to direct
      interconnected to a          Asus/Qualcomm Smartphone for        infringement under 28 U.S.C.
          product for          Snapdragon Insiders; LG V60 ThinQ 5G;    Sec. 1498(a) Zoltek III, that
        communication             Samsung Galaxy S21 Smartphone;        was overturned at the CAFC
 therebetween, comprising:        Google Pixel 5 Smartphone; Apple
                                        iPhone 12 Smartphone           The DOJ/DHS narrowed the
                                                                       case to that of Apple, LG, &
                                                                        Samsung, thereby omitting
                                                                         the sensors developed by
                                                                       Qualcomm, Synkera, NASA,
                                                                         SeaCoast, and the camera
                                                                        sensors for detecting CBR
                                                                            made by Rhevision.



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                                                                               The DOJ & DHS stated
                                                                             “Golden’s patented Central
                               Your smartphone processor, also known        Processing Units (CPUs) was
                                as chipset, is a component that controls     an enlargement of the case.
                               everything going on in your smartphone
                                 and ensures it functions correctly. You    The DOJ & DHS motioned to
                               can compare it to the brain of the human        have the case dismissed
                               body. Every action you perform on your       because they believe the CPU
                                    smartphone goes straight to the           was an enlargement of the
                                 processor. A processor, also known as        case; which means Golden
                                 CPU, consists of multiple cores: Dual,      violated a Court order not to
                                  Quad, Hexa, and Octa core. What do         amend the case. The DOJ &
                                these cores do exactly? Processor cores         DHS lied to the Court.
                                distribute the work that comes in when
                                  you use your phone. One core has a        The DOJ & DHS also stated
                               maximum number of instructions it can        Golden claimed his CPU is a
                               process within a certain amount of time.       sensor located inside the
  at least one of a central                                                  product used for detecting.
 processing unit (CPU) for     A process is an operating system concept
executing and carrying out       and it is the smallest unit of isolation   As stated left of this column,
    the instructions of a        provided by, for example, Windows          the CPU is used for carrying
    computer program, a           operating system (OS). Application           out the operational and
 network processor which         Domain or AppDomain is one of the          functional instructions of the
 is specifically targeted at   most powerful features of the framework.     devices, and that the CPU is
the networking application     AppDomain can be considered as a light-       considered by many as the
   domain, or a front-end       weight process. AppDomain is of great           brains of the devices.
        processor for             advantage for ISP (Internet Service
communication between a             Provider) who hosts hundreds of         No where, did Golden claim
  host computer and other       applications. Because each application      the CPU is used as a sensor
           devices;                can be contained in an application           for CBR detection.
                               domain and a process can contain many
                                            such AppDomains.                 Golden did not enlarge the
                                                                             case with the CPU. Rule 4
                               Sensor Front-End Processors and Sensor       required Golden to identify
                                Devices: These are processors that are      where each element is found
                               designed to handle data from sensors and       in the alleged infringing
                               convert them into usable data for further      products. Golden located
                                  processing. They are optimized for         where the CPU was found,
                                handling low-level sensor data and can      which is not an enlargement.
                                      perform tasks such as signal
                                    conditioning, filtering, and data       Further, if the products do not
                               acquisition. Sensor front-end processors       have CPUs, the products
                                 are commonly used in sensor devices          cannot function correctly.
                               such as smartphones, wearables, and IoT
                                      (Internet of Things) devices.           The case was dismissed
                                                                            because the DOJ & DHS lied
                                                                                    to the Court.




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                                                                                The Federal Circuit
     a transmitter for                                                      in FastShip, LLC v. U.S.,
                               Golden’s Communicating, Monitoring,
 transmitting signals and                                                        “[W]e interpret
                                Detecting, and Controlling (CMDC)
messages to at least one of                                               “manufactured” in § 1498 []
                              devices are referred to as communication
 plurality product groups                                                     such that a product is
                              devices, monitoring devices, monitoring
based on the categories of                                                 “manufactured” when it is
                                 equipment, multi-sensor detection
 a multi-sensor detection                                                     made to include each
                               devices, cell phone detection devices,
 device, a maritime cargo                                                     limitation of the thing
                                smartphones, and new and improved
  container, a cell phone                                                   invented and is therefore
                                 upon cell phones, laptops, tablets,
   detection device, or a                                                 suitable for use. Without the
                                          desktop PCs, etc.
      locking device;                                                       sensors the products will
                                                                            never be suitable for use.


  a receiver for receiving                                                The DOJ & DHS made sure
                               Golden’s Communicating, Monitoring,
signals, data or messages                                                  the sensors and detectors
                                Detecting, and Controlling (CMDC)
    from at least one of                                                   required to have product
                              devices are referred to as communication
 plurality product groups                                                   “suitable for use” never
                              devices, monitoring devices, monitoring
based on the categories of                                                 happen. The DOJ & DHS
                                 equipment, multi-sensor detection
 a multi-sensor detection                                                   blocked the sensors and
                               devices, cell phone detection devices,
 device, a maritime cargo                                                   detectors of Qualcomm,
                                smartphones, and new and improved
  container, a cell phone                                                 NASA, Synkera, SeaCoast,
                                 upon cell phones, laptops, tablets,
   detection device, or a                                                 Rhevision, Apple, Samsung,
                                          desktop PCs, etc.
      locking device;                                                               and LG.


                               Internet of Things (IoT) and Internet of   The DOJ & DHS chose not to
                                     Everything (IoE) are emerging           challenge this limitation,
                                   communication concepts that will         because a challenge would
                                    interconnect a variety of devices     verify the internet, Bluetooth,
   at least one satellite
                                     (including smartphones, home          and RF connections makes
 connection, Bluetooth
                                appliances, sensors, and other network    the smartphones “capable of”
    connection, WiFi
                              devices), people, data, and processes and      integrating detectors and
  connection, internet
                                allow them to communicate with each             sensors remote the
    connection, radio
                                other seamlessly. These new concepts               smartphone.
      frequency (RF)
                                  can be applied in many application
   connection, cellular
                                       domains such as healthcare,         The DOJ & DHS decided to
 connection, broadband                                                     challenge the term “capable
                                    transportation, and supply chain
  connection, long and                                                          of” without a claim
                               management (SCM), to name a few, and
    short-range radio
                               allow users to get real-time information   construction hearing because
      frequency (RF)
                               such as location-based services, disease   21 of the 25 patent claims that
   connection, or GPS
                                     management, and tracking. The         the USPTO issued with the
        connection;                                                          presumption of validity”
                               smartphone-enabling technologies such
                                 as built-in sensors, Bluetooth, radio-    in the related Golden v. US
                              frequency identification (RFID) tracking,       case no. 13-307C, has
                                and near-field communications (NFC)              “capable of” in it.




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                                                                                  Golden made multiple
                                The DHS Cell-All initiative: “biological       repeated attempts to inform
                                    and chemical sensors could be []             the DOJ & DHS that the
the communication device
                                   integrated into common cell phone             sensors, according to the
is at least a fixed, portable
                                devices” … “miniaturized biological and        DHS Cell-All initiative, can
or mobile communication
                                 chemical sensing with integration into         be located both inside and
device interconnected to a
                                    common.” “[] second-generation                  outside the phones.
 fixed, portable or mobile
                                   prototypes, chemical sensors were
 product, capable of wired                                                       When Golden identified
                                  separated from the phones, allowing
         or wireless                                                           sensors both inside (camera
                                deployment of the sensors through third-
       communication                                                              sensor) the phone, and
                                party products, [] that could be added to
    therebetween; and,                                                        outside (NODE+) the phone,
                                  existing phones (U.S. Department of
                                       Homeland Security, 2011a)                 the DOJ & DHS did not
                                                                                    accept the devices.


                                    28 U.S. Code § 1498(a): “For the
                                    purposes of this section, the use or       Apple and NASA are two of
                                manufacture of an invention described in      the third-party contractors in
                                  and covered by a patent of the United       the related Golden v. US case
                                States by a contractor, a subcontractor, or     no. 13-307C for the DHS
                                 any person, firm, or corporation for the           Cell-All initiative.
                                 Government and with the authorization
                                or consent of the Government, shall be []      NASA’s contribution to the
                                    use or manufacture for the United           development of the “cell
                                                 States.”                      phone sensing device” was
       whereupon the
                                                                              not accepted or considered by
communication device, is
                                The NODE+ was invented and produced                 the DOJ & DHS.
    interconnected to a
                                in 2011 by George Yu, Ph.D. Yu worked
    product equipped to
                                as a subcontractor to NASA on the DHS          The DOJ & DHS pled that
  receive signals from or
                                Cell-All initiative. The NODE+ sensor is      “to include the NODE+ is an
  send signals to lock or
                                 an interactive scanner that uses … data        enlargement of the case;
unlock doors, activate or
                                from NASA to give information [] using          which is a violation of the
     deactivate security
                                sensors on your phone NODE+ wireless          Court’s order not to amend.”
    systems, activate or
                                sensor platform is a handheld sensor that
 deactivate multi-sensor
                                    communicates wirelessly through            The DOJ & DHS created the
 detection systems, or to
                                   Bluetooth with Apple iOS devices.           substantive right for Golden
activate or deactivate cell
                                                                              to receive “just Compensation
 phone detection systems        The Tucker Act, is merely a jurisdictional       for the taking of Golden’s
                                    statute and “does not create any              property under the Fifth
                                substantive right enforceable against the       Amendment Clause of the
                                  United States for money damages.”            U.S. Constitution when they
                                  United States v. Testan. Instead, the           violated 28 U.S. Code §
                                substantive right must appear in another      1498(a): “a money-mandating
                                  source of law; a “money-mandating            constitutional provision” and
                                   constitutional provision, statute or        the “statute or regulation” of
                                  regulation that has been violated…”                  the provision.
                                 Loveladies Harbor, Inc. v United States




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                                                                              After the Department of
                                                                             Homeland Security (DHS)
                                       Patent Specifications:
                                                                           received information from the
                               It is another objective of the present
                                                                                then President, Vice-
                                invention to provide a multi sensor
                                                                           President, three U.S. Senators
                                 detection [] system for preventing
                                                                            from South Carolina, a DHS
                                terrorist activity by using products
                                                                            SBIR Program Manager, and
                            grouped together by common features in
                                                                             a DHS Contracting Officer
                            several product groupings such as design
                                                                           for the SafeCon initiative, the
                             similarity, similarity in the presentation
                                                                              DHS in 2007 released the
                             of security problems and similarity with
                                                                                 DHS S&T Cell-All
                            regard to the presentation of solutions to
                                                                             Ubiquitous Biological and
                                       preventing terrorist…
                                                                           Chemical Sensing solicitation
                            Still yet a further objective of the present    for a cell phone “capable of”
                              invention is to provide a multi sensor       detecting for CBR agents and
                                  detection [] system that can be                    compounds.
                            implemented by business or government
                                                                              Using Golden’s Product
                              at a minimum cost by organizing the
                                                                           Grouping strategies, the DHS
                                   products to be protected into
                                                                            contracted Apple, Samsung,
       wherein the                 product grouping categories.
                                                                             LG, Qualcomm, Synkera,
 communication device                                                         NASA, Rhevision, and
                            Product grouping 2 (sensors) include, but
receives a signal via any                                                      SeaCoast to assemble
                             are not limited to, chemical, biological,
of one or more products                                                    Golden’s CMDC device in a
                               radiological, explosive and nuclear
   listed in any of the                                                    way that will group products
                             detectors, motion sensors, door sensors,
   plurality of product                                                    together by common features
                               [] biometric sensors, [] detection of
  grouping categories;                                                        and design similarities.
                                            humans…
                                Product grouping 4 (monitoring &               The DOJ & DHS has
                             communication devices) include, but are       continually retaliated against
                              not limited to, mobile communication          Golden for 10 years (2013-
                              devices, mobile communication units,         2023) for filing a claim in the
                               portable communication devices, []             United States Court of
                              monitoring sites, monitoring terminals,         Federal Claims for just
                            web servers, desktop PCs, notebook PCs,               compensation.
                            laptops, satellite cell phones, cell phones,
                                                                           It is the belief of Golden that
                                   [] PDAs, [] and [] handhelds
                                                                             the Trial Court Judge was
                             Product grouping 7 (authorized person)        acting under Duress (threats,
                              include, but are not limited to, owner,       intimidation, or some other
                                pilot, conductor, captain, [] airport       type of coercion) to comply
                            security, police, highway patrol, security     with the lies the DOJ & DHS
                              guard, military personnel, HAZMAT,             has put before this Court.
                             CIA, FBI, Secret Service, port security
                                                                           The reason Golden is asking
                            personnel, border security personnel, first
                                                                             the Judge to transfer the
                                responders, [] terminal personnel.
                                                                           current case, is because it is a
                                                                              little more complicated.




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                                Internet of Things (IoT) and Internet of
                                      Everything (IoE) are emerging         The DOJ & DHS chose not to
    wherein at least one                                                       challenge this limitation,
                                    communication concepts that will
    satellite connection,                                                     because a challenge would
                                     interconnect a variety of devices
  Bluetooth connection,                                                     verify the internet, Bluetooth,
                                      (including smartphones, home
 WiFi connection, internet                                                   and RF connections makes
                                 appliances, sensors, and other network
      connection, radio
                               devices), people, data, and processes and    the smartphones “capable of”
       frequency (RF)                                                          integrating detectors and
                                 allow them to communicate with each
    connection, cellular                                                          sensors remote the
                                 other seamlessly. These new concepts
  connection, broadband                                                              smartphone.
                                   can be applied in many application
connection… short range
                                        domains such as healthcare,          The DOJ & DHS decided to
   radio frequency (RF)
                                     transportation, and supply chain        challenge the term “capable
 connection is capable of
                                management (SCM), to name a few, and              of” without a claim
  signal communication
                                allow users to get real-time information    construction hearing because
 with the transmitter and
                                such as location-based services, disease    21 of the 25 patent claims that
     the receiver of the
                                      management, and tracking. The          the USPTO issued with the
communication device and
                                smartphone-enabling technologies such          presumption of validity”
     transceivers of the
                                  as built-in sensors, Bluetooth, radio-     Golden asserted in the case
          products;
                               frequency identification (RFID) tracking,        has “capable of” in it.
                                 and near-field communications (NFC)

                                          Patent specifications:              Golden has two disabling
                               “FIG. 1 is a perspective view of the… an         locking mechanism that
                               automatic/mechanical lock disabler and a       follows the same patterns:
                                     fingerprint biometric lock with          detection; lock; reset. The
                                 disabler… FIG. 14 is a representative         first is when a hazardous
          wherein the           schematic view of the… lock disabling       substance is detected it sends
  communication device is            system of the present invention          a signal to lock the device.
 equipped with a biometric        illustrating interconnection of the…          The second is when and
       lock disabler that       fingerprint biometric lock with disabler          unauthorized attempt
incorporates at least one of        for engaging and disengaging the         (fingerprint, facial, code) to
 a fingerprint recognition,           fingerprint biometric lock …          unlock the device, a signal is
    voice recognition, face                                                      sent to lock the device.
       recognition, hand           The fingerprint biometric lock with
 geometry, retina scan, iris    disabler 62 is interconnected to the cpu          The first pattern was
   scan and signature such           40… Moreover, resetting of the           identified in claim 1 of the
   that the communication       fingerprint biometric lock with disabler     ‘497 patent and claim 10 of
 device that is at least one      62 occurs when the fingerprint of the      the ‘752 patent. The second
     of the cell phone, the      individual is placed on the fingerprint-   pattern was identified in 11 of
 smart phone, the desktop,      matching pad 64, and if a match occurs          the remaining 23 patent
   the handheld, the PDA,        with a known fingerprint stored by the      claims. 12 of the patent did
the laptop or the computer     cpu 40, then the individual can reset the          not call for a locking
  terminal is locked by the     fingerprint biometric lock with disabler               mechanism.
 biometric lock disabler to      56… a fingerprint that matches stored
 prevent unauthorized use;       and authorized fingerprints 102 would       The DOJ & DHS repeatedly
                               indicate an authorized individual … The      stated in signed pleadings that
                                fingerprint biometric lock with disabler      Golden did not identify the
                                  62 would then be reset 106 after the       locking mechanism. That lie
                                   appropriate safety… and protection            caused the case to be
                                       measures are completed…                         dismissed.

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                               Internet of Things (IoT) and Internet
                                  of Everything (IoE) are emerging      The DOJ & DHS chose not to
                                  communication concepts that will         challenge this limitation,
                                   interconnect a variety of devices      because a challenge would
  wherein the only type or           (including smartphones, home       verify the internet, Bluetooth,
  types of communication             appliances, sensors, and other      and RF connections makes
   with the transmitter and     network devices), people, data, and     the smartphones “capable of”
      the receiver of the              processes and allow them to         integrating detectors and
 communication device and             communicate with each other             sensors remote the
      transceivers of the       seamlessly. These new concepts can               smartphone.
 products is a type or types        be applied in many application
   selected from the group             domains such as healthcare,       The DOJ & DHS decided to
    consisting of satellite,       transportation, and supply chain      challenge the term “capable
  Bluetooth, WiFi, internet,    management (SCM), to name a few,              of” without a claim
    radio frequency (RF),           and allow users to get real-time    construction hearing because
  cellular, broadband, and       information such as location-based     21 of the 25 patent claims that
 long and short-range radio      services, disease management, and       the USPTO issued with the
        frequency (RF).          tracking. The smartphone-enabling       presumption of validity” in
                               technologies such as built-in sensors,   the related Golden v. US case
                                       Bluetooth, radio-frequency       no. 13-307C, has “capable of”
                                 identification (RFID) tracking, and                 in it.
                                  near-field communications (NFC)




Pursuant to 37 CFR § 11.303 Candor Toward the Tribunal: The DOJ & DHS
Has Failed to Meet or Comply with the Following:
(a) A practitioner shall not knowingly:
       (1) Make a false statement of fact or law to a tribunal or fail to correct a false statement
       of material fact or law previously made to the tribunal by the practitioner;
       (3) Offer evidence that the practitioner knows to be false. If a practitioner,
       the practitioner's client, or a witness called by the practitioner, has offered material
       evidence and the practitioner comes to know of its falsity, the practitioner shall take
       reasonable remedial measures, including, if necessary, disclosure to the tribunal.
       A practitioner may refuse to offer evidence that the practitioner reasonably believes is
       false.
(b) A practitioner who represents a client in a proceeding before a tribunal and who knows that
a person intends to engage, is engaging or has engaged in [] fraudulent conduct related to the




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proceeding shall take reasonable remedial measures, including, if necessary, disclosure to
the tribunal.
(c) The duties stated in paragraphs (a) and (b) of this section continue to the conclusion of the
proceeding, and apply even if compliance requires disclosure of information otherwise protected
by § 11.106.
(d) In an ex parte proceeding, a practitioner shall inform the tribunal of all material facts known
to the practitioner that will enable the tribunal to make an informed decision, whether or not the
facts are adverse.


  THREE CLAIMS OF A GOVERNMENT “TAKINGS” OF GOLDEN’S
   PROPERTY UNDER THE FIFTH AMENDMENT CLAUSE OF THE
     UNITED STATES CONSTITUTION WITHOUT PAYING JUST
 COMPENSATION “RIPEN” WHEN A FINAL DECISION WAS MADE IN
  THE LEAD CASE 13-307C GOLDEN V. US, ON NOVEMBER 10, 2021
           WITHOUT ADJUDICATING THE CLAIMS.


        The claim of a “Government Takings of Property Under the Fifth Amendment Clause of
the U.S. Constitution without paying ‘Just Compensation’” proposes a framework for assessing
the constitutionality of the Government’s deliberate falsehoods. To this end, it builds on due
process theory and doctrine, to identify when and how the Government’s lies inflict the harms of
deception and breach of trust in ways that endanger specific constitutional rights.
        More specifically, it proposes that the Government’s lies violate the Due Process Clause
when they directly deprive individuals of life, liberty, or property; and in those extreme
circumstances when they lack any reasonable justification and thus constitute an abuse of
governmental power.
        The Fifth Amendment says to the federal government that no one shall be “deprived of
life, liberty or property without due process of law.” These words have as their central promise
an assurance that all levels of American government must operate within the law (“legality”) and
provide fair procedures.
        As an illustration, the Model Code of Judicial Conduct and the Model Rules of
Professional Conduct impose an explicit duty of truthfulness [] on government actors, and others,
who are also members of the bar.

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   •   MODEL CODE OF JUDICIAL CONDUCT R. 4.1(A)(11) (2007) (prohibiting judges and
       judicial candidates from “knowingly, or with reckless disregard for the truth, mak[ing]
       any false or misleading statement”);
   •   MODEL RULES OF PROF’L CONDUCT R. 3.3(a)(1) (2014) (“A lawyer shall not
       knowingly [] make a false statement of fact or law to a tribunal…”);
   •   MODEL RULES OF PROF’L CONDUCT R. 4.1(a) (2014) (“In the course of
       representing a client a lawyer shall not knowingly [] make a false statement of material
       fact or law to a third person[.]”);
   •   MODEL RULES OF PROF’L CONDUCT R. 8.4(c) (2014) (“It is professional
       misconduct for a lawyer to [] engage in conduct involving dishonesty, fraud, deceit or
       misrepresentation[.]”).

       Although many disciplinary actions under these rules punish lies like fraud or perjury that
violate other legal constraints, some hold lawyers and judges to higher standards of truthfulness
by punishing lies that would likely not be punishable if uttered by nonattorneys. See In re
Pautler, 47 P.3d 1175 (Colo. 2002); In re Carpenter, 95 P.3d 203 (Or. 2004).


Standards of Review
        “The Fifth Amendment prohibits the federal government from taking private property for
public use without paying just compensation. U.S. Const. amend. V. “It is undisputed that the
Takings Clause of the Fifth Amendment is a money-mandating source [of law] for purposes of
Tucker Act jurisdiction” in the Court of Federal Claims. Jan’s Helicopter Serv., Inc. v. FAA, 525
F.3d 1299, 1309 (Fed. Cir. 2008).
        “[O]nce a claim has been stated adequately, it may be supported by showing any set of
facts consistent with the allegations in the complaint.” Bell Atl. Corp., 550 U.S. at 546. Indeed,
“[t]he issue is not whether a plaintiff will ultimately prevail but whether the claimant is entitled
to offer evidence to support the claims.” Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), overruled
on other grounds by Harlow v. Fitzgerald, 457 U.S. 800, 814-19 (1982).”
        “The ability of the Court of Federal Claims to entertain suits against the United States is
limited. “The United States, as sovereign, is immune from suit save as it consents to be sued.
“United States v. Sherwood, 312 U.S. 584, 586 (1941). A waiver of immunity “cannot be implied


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but must be unequivocally expressed.” United States v. King, 395 U.S. 1, 4 (1969). The Tucker
Act, the principal statute governing the jurisdiction of this court, waives sovereign immunity for
claims against the United States not sounding in tort that are founded upon the Constitution, a
federal statute or regulation, or an express or implied contract with the United States. 28 U.S.C. §
1491 (2012). However, the Tucker Act is merely a jurisdictional statute and “does not create any
substantive right enforceable against the United States for money damages.” United States v.
Testan, 424 U.S. 392, 398 (1976).”
       “Instead, the substantive right must appear in another source of law, such as a “money-
mandating constitutional provision, statute or regulation that has been violated, or an express or
implied contract with the United States.” Loveladies Harbor, Inc. v. United States, 27 F.3d 1545,
1554 (Fed. Cir. 1994) (en banc). Retrieved from: Chief Judge Margaret Sweeney; Christy, Inc. v.
The United States; Opinion and Order; Case No. 18-657C; filed January 29, 2019: C. Tucker Act


“Takings” I
        As a result of the 9/11 attacks, between the years 2003-2005, Golden submitted three (3)
Economic Stimulus and Terrorism Prevention Packages, that included strategies for stimulating
our economy as a whole and the African-American community, to at least that of President Bush,
VP Cheney, and S.C. Senators Holland, DeMint, and Graham.
       President Bush, VP Cheney, and S.C. Senators Holland, DeMint, and Graham sent the
nonfrivolous “Economic Stimulus and Terrorism Prevention Packages”, that included schematics
for CBRNE detection devices (the “SafeRack” package); the schematics for a new, improved
upon, and useful cell phone, PC, tablet, laptop, etc. (the “ATPG” package); and the schematics
for a remote stop, stall, and vehicle slow-down system, and pre-programmed stopping, stalling,
and slowing down of a vehicle (the “V-Tection” package), over to the Department of Homeland
Security (DHS) for development and implementation.
       Golden’s evidence is the response letters Golden received from the offices of President
Bush, VP Cheney, and S.C. Senators Holland, DeMint, and Graham.
       Golden traveled to Colorado in 2006 for the Government Agencies (DoD, DOE, DHS,
etc.) SBIR Tour. Golden meet with, and left behind copies of Golden’s stimulus packages with
Lisa Sabolewski, DHS SBIR Program Manager, who in turn asked Golden to send the
information to her via email. (E-mail correspondence available).

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       Golden responded to an RFI in 2007 to the DHS/S&T Safe Container (SafeCon)
Initiative, and discussed the intellectual property subject matter of Golden’s inventions with DHS
Margo Graves; margaret.graves@hq.dhs.gov, 202-379-8727. (E-mail correspondence available).
       Golden submitted a proposal in 2007, in response to the DHS S&T Cell-All Ubiquitous
Biological and Chemical Sensing request for proposals, and upon request, resubmitted Golden’s
intellectual property directly to the Stephen Dennis, DHS Program Manager for the Cell-All
Ubiquitous Biological and Chemical Sensing initiative in 2008. (E-mail correspondence
available).
       Golden traveled to Washington, DC in 2008 with his lead engineer [Harold Kimball] to
discuss a “read-ahead” of Golden’s intellectual property and the possibility of Golden incubating
his company at the Department of Homeland Security (DHS). Golden and Mr. Kimball meet
with Ed Turner, DHS/S&T Program Manager.
       Golden was invited by DHS to Sacramento, CA in 2008 to attend a T.R.U.ST Industry
Day Symposium. Golden discussed and left copies of his intellectual property subject matter
with a selected panel. Golden was walked out by the Program Manager Dave Masters, where he
promised Golden, he will release a Request for Proposal in the near future that aligns with
Golden’s intellectual property technological rational.
       Golden’s initial “takings” begin in 2008 when the DHS made a “final decision” to take
and give Golden’s intellectual property subject matter to Apple, Samsung, LG, NASA, Synkera,
SeaCoast, Rhevision, and Qualcomm for development and commercialization. This happened
two years before the DHS cause the release of the first infringing product in 2010.
       Some statistics about the award: 1) Golden was the only person (African American) to
hold a patent(s) for the cell phone sensing device the Government was requesting; Golden owned
the only African American company (ATPG Technology, LLC) not awarded a contract, in view
of the eight other white-owned companies that was awarded to develop and assemble Golden’s
patented devices; and, sixty millions African Americans are the only ones who are not
benefitting from the three economic stimulus packages, through the not-for-profit company
(ATPG Corporation) Golden established to receive funding specifically targeted for African
Americans.
       According to Macrotrends, between the years 2010 – 2026, Apple’s total estimated
revenues are $4.5T dollars; Samsung’s total estimated revenues are $3.5T dollars; LG’s total

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estimated revenues are $.9T dollars; and, Qualcomm’s total estimated revenues are $.5T dollars.
The companies indirectly benefiting from the stimulus packages over the same time period is
AT&T’s total estimated revenues are $2.6T dollars; Verizon’s total estimated revenues are $2.2T
dollars; T-Mobile’s total estimated revenues are $.8T dollars; and Google’s total estimated
revenues are $2.5T dollars.
        Within the six-year statute of limitations period, in 2013 Golden filed a takings claim in
the COFC. The DOJ & DHS motioned to “stay” Golden’s takings claims and in 2014 the COFC
court stayed Golden’s takings claim until 2019.
        The DOJ & DHS spent six years lying to the Court that Golden’s takings claim was no
different than Golden’s infringement claims.
        The COFC dismissed Golden takings claim because DOJ & DHS said “taking Golden’s
property and giving it to Apple, Samsung, LG, and Qualcomm, sounds like infringement”. The
takings begin in 2003 and a final decision to take Golden’s property [ripeness of the takings] was
made in 2008. Two years before the first infringing product that included all the inventions’
elements were released.
        Therefore, Golden’s Takings claim, for the Government taking Golden’s property and
giving it to Apple, Samsung, LG, and Qualcomm, was never adjudicated before the case closed
on November 10, 2021.


“Takings” II
        Within the six-year period from 10/01/2015, Golden filed in the United States Court of
Federal Claims, on 01/17/2019 in Larry Golden v. United States Case No. 1:19-cv-00104-EGB,
Golden initiated the filing of an Unconstitutional IPR-Based Takings claim against the
Government, the United States.
        In Larry Golden v. United States Case No. 1:19-cv-00104-EGB OPINION. Document: 12
Page: 4 Filed: 05/14/2019. The United States Court of Federal Claims responded to the
Government’s Motion to Dismiss for lack of jurisdiction: “Finally, as we held in the related
action, plaintiff fails to state a claim to the extent that his complaint alleges a taking by the
actions of this court, the Federal Circuit, or the PTAB.” … “Plaintiff appears to argue that the
cancellation of his ‘990 independent claims in the IPR at the PTAB constitutes a taking by the
PTAB.” … “In sum, plaintiff’s takings claim duplicates his related patent action in Docket No.

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13-307C, asserts claims over which this court does not have jurisdiction, and fails to state a
takings claim. Defendant’s Motion is granted pursuant to Rule12(b)(1) and Rule12(b)(1).”
       “On Appeal from the United States Court of Federal Claims in No. 1:19-cv-00104-EGB,
Senior Judge Eric G. Bruggink, in the OPINION for Larry Golden v. United States CAFC Case
No. 19-2134 Document: 37 Pages: 11-12 Filed: 04/10/2020. The Federal Circuit clarified the
COFC’s jurisdiction:
              “We next turn to Golden’s IPR-based takings claims. We first address whether the
    Claims Court had jurisdiction to hear these claims. … The government argues that the
    American Invents Act (“AIA”)’s creation of inter partes review by the Board, followed by
    judicial review before this court, creates a “‘self-executing remedial scheme’ that
    ‘supersedes the gap-filling role of the Tucker Act.’” Id. at 41 (quoting United States v.
    Bormes, 568 U.S. 6, 13 (2012)).”
              “According to the government, the AIA statutory scheme displaces Tucker Act
    jurisdiction because there is no procedural impediment to presentation of a takings claim to
    the agency and because the remedial scheme provides for judicial review of constitutional
    challenges to the agency’s action. Id. at 43–49. The government’s argument is without
    merit.”
              “In Bormes, the Supreme Court explained that Tucker Act jurisdiction is displaced
    “when a law assertedly imposing monetary liability on the United States contains its own
    judicial remedies.” 568 U.S. at 12 (emphasis added). More recently, the Court explained
    that, “[t]o determine whether a statutory scheme displaces Tucker Act jurisdiction, a court
    must ‘examin[e] the purpose of the [statute], the entirety of its text, and the structure of
    review that it establishes.” Horne v. Dep’t of Agric., 569 U.S. 513, 526–27 (2013) (quoting
    United States v. Fausto, 484 U.S. 439, 444 (1988)). Thus, when there is a precisely defined
    statutory framework for a claim that could be brought against the United States, the Tucker
    Act gives way to the more specific statutory scheme. Regardless of the structure of review it
    establishes, the AIA is not a statute that provides for claims against the United States.”
              “The government is correct that, under the AIA, parties may raise constitutional
    challenges in our court on appeal from Board decisions. But this remedial scheme does not
    convert the AIA into a statutory framework for claims against the United States. The AIA is
    by no means “a law assertedly imposing monetary liability on the United States.” Borne,

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    568 U.S. at 12. Accordingly, we reject the government’s argument that the AIA displaced
    Tucker Act jurisdiction over Golden’s IPR-based takings claims.”

       In Golden’s Motion for Leave to File a Motion for Summary Judgement Larry Golden v.
United States, COFC Case 1:13-cv-00307-EGB Document 196 Filed 11/03/20, Golden continued
his efforts to get the DOJ and the COFC Court to address Golden’s IPR-Based Takings claims.
Golden could never be time barred when the Claim was still pending in an active case.
       The DOJ, the Defendant, continued to defend against Golden’s “Takings” claim. In the
lead case Larry Golden v. United States, COFC Case 1:13-cv-00307-EGB the Government
(“DOJ”), on behalf of the Department of Homeland Security (“DHS”), filed Document 238 on
07/08/2021, “Defendant the United States’ Notice Regarding Service of The Government’s
Preliminary Invalidity Contentions”, with more unqualified patent and publications’ references.
       When the United States causes injury to property, a property owner can sue in the Court
of Federal Claims. This is a result of the Tucker Act, which waives the United States’ sovereign
immunity in the COFC only, United States v. Mitchell, 463 U.S. 206, 215-19 (1983).
       Significantly, a suit alleging a compensable taking in the Court of Federal Claims is
viable as soon as government invades a property interest without proving a statutory
compensation guarantee. Kirby, 467 U.S. at 5; Dow, 357 U.S. at 22. The claimant need not sue in
another court to “ripen” the takings suit. As the Court stated long ago in Great Falls Mfg. Co.,
112 U.S. at 656.
       Unless proven otherwise, Golden is the only African American Patent Owner that has
ever been petitioned for Inter Partes Review at the PTAB by two Government agencies [the
Department of Justice (DOJ) and the Department of Homeland Security (DHS)], who are not
“persons” authorized to petition the PTAB to invalidate Golden’s patents.
       Unless proven otherwise, the DHS & DOJ has never petitioned the PTAB for Inter Partes
Review of patent(s) owned by a White(s).
       Unless proven otherwise, Golden is the only African American Patent Owner that has
ever been petitioned for Inter Partes Review at the PTAB by two Government agencies [the
Department of Justice (DOJ) and the Department of Homeland Security (DHS)], who are not
“persons” authorized to petition the PTAB to invalidate patents; with three unqualified patent
references [Astrin, Breed, and Mostov] that does not antedate Golden’s patents.


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       Unless proven otherwise, the DHS & DOJ has never petitioned the PTAB for Inter Partes
Review of patent(s) owned by a White(s) with any number of unqualified references.
       The Trial Court dismissed the lead case COFC 13-307C, without adjudicating Golden’s
“Unconstitutional IPR-Based “Takings” claim on 11/10/2021, which “ripen” the takings claim.


“Takings” III
       When the DOJ & DHS insisted on a dismissal in their favor Golden v. US Case No. 13-
307C; dismissed 11/10/2021, without proving non-infringement or that the patents are invalided,
it left the patents with the “presumption of validity”. Which means the government cannot
appropriate or use Golden’s patents without paying “just compensation”.
       The Supreme Court explicitly recognized that patents are property secured by the Fifth
Amendment Takings Clause. In Horne v. Department of Agriculture 569 U.S. 513 (2013)
(“Horne I”); 576 U.S. 350, 135 S. Ct. 2419 (2015) (“Horne II”), the Court held that the Takings
Clause imposes a “categorical duty” on the government to pay just compensation whether it
takes personal or real property.
       Chief Justice Roberts, writing for the Court, noted the long history of private property
being secured against uncompensated takings by the government, beginning with the Magna
Carta some 800 years ago. In further support, Roberts cited a Supreme Court opinion from the
late nineteenth century:
       Nothing in this history suggests that personal property was any less protected against
       physical appropriation than real property. As this Court summed up in James v. Campbell,
       104 U.S. 356, 358 (1882), a case concerning the alleged appropriation of a patent by the
       Government:
               “[A patent] confers upon the patentee an exclusive property in the patented
               invention which cannot be appropriated or used by the government itself, without
               just compensation, any more than it can appropriate or use without compensation
               land which has been patented to a private purchaser.”

       James Madison, the author of the Takings Clause, once wrote: “Government is instituted
to protect property of every sort.” The Court’s decision vindicates Madison’s intent to limit the
government’s power to take property, both personal and real, without just compensation. And it


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extends a long line of cases recognizing that “property” in the constitutional sense subsumes all
things arising from labor and invention.
       The DOJ & DHS never proved Golden’s patents are invalid, and yet, continues to used
them without paying just compensation. The only thing the DOJ & DHS proved in the Golden v.
US Case No. 13-307C is how much of massive liars they are. Examples of their falsehoods are:
       The DOJ/DHS made the Golden v. US Case No. 13-307C a case between private parties
which placed the case outside the COFC jurisdiction.
       When the DOJ/DHS stated the sensors must be “native to the manufacturing of the Apple
and Samsung products, the DOJ/DHS knew they were demanding proof of direct infringement
under 35 U.S.C. Sec. 271(a) as a predicate to direct infringement under 28 U.S.C. Sec. 1498(a)
Zoltek III, that was overturned at the CAFC.
       The DOJ/DHS narrowed the case to that of Apple, LG, & Samsung, thereby omitting the
sensors developed by Qualcomm, Synkera, NASA, SeaCoast, and the camera sensors for
detecting CBR developed by Rhevision.
       The DOJ & DHS stated “Golden’s patented Central Processing Units (CPUs) was an
enlargement of the case. The DOJ & DHS motioned to have the case dismissed because they
believe the CPU was an enlargement of the case; which means Golden violated a Court order not
to amend the case. The DOJ & DHS lied to the Court.
       The DOJ & DHS also stated Golden claimed his CPU is a sensor located inside the
product used for detecting. As stated in the chart above, the CPU is used for carrying out the
operational and functional instructions of the devices, and that the CPU is considered by many as
the brains of the devices.
       No where, did Golden claim the CPU is used as a sensor for CBR detection. Golden did
not enlarge the case with the CPU. Rule 4 required Golden to identify where each element is
found in the alleged infringing products. Golden located where the CPU was found, which is not
an enlargement. Further, if the products do not have CPUs, the products cannot function
correctly. The case was dismissed because the DOJ & DHS lied to the Court.
       The Federal Circuit in FastShip, LLC v. U.S., “[W]e interpret “manufactured” in § 1498 []
such that a product is “manufactured” when it is made to include each limitation of the thing
invented and is therefore suitable for use. Without the sensors the products will never be suitable
for use.

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       The DOJ & DHS made sure the sensors and detectors required to have a product
“suitable for use” never happen. The DOJ & DHS blocked the sensors and detectors of
Qualcomm, NASA, Synkera, SeaCoast, Rhevision, Apple, Samsung, and LG.
       The DOJ & DHS chose not to challenge the communication methods limitation, because
a challenge would verify the internet, Bluetooth, and RF connections makes the smartphones
“capable of” integrating detectors and sensors remote the smartphone.
       The DOJ & DHS decided to challenge the term “capable of” without a claim construction
hearing because 21 of the 25 patent claims that the USPTO issued with the presumption of
validity” in the related Golden v. US case no. 13-307C, has “capable of” in it.
       Golden made multiple repeated attempts to inform the DOJ & DHS that the sensors,
according to the DHS Cell-All initiative, can be located both inside and outside the phones.
When Golden identified sensors both inside (camera sensor) the phone, and outside (NODE+)
the phone, the DOJ & DHS did not accept the devices.
       Apple and NASA are two of the third-party contractors in the related Golden v. US case
no. 13-307C for the DHS Cell-All initiative. NASA’s contribution to the development of the “cell
phone sensing device” was not accepted or considered by the DOJ & DHS. The DOJ & DHS
pled that “to include the NODE+ is an enlargement of the case; which is a violation of the
Court’s order not to amend.”
       The DOJ & DHS created the substantive right for Golden to receive “just Compensation
for the taking of Golden’s property under the Fifth Amendment Clause of the U.S. Constitution
when they violated 28 U.S. Code § 1498(a): “a money-mandating constitutional provision” and
the “statute or regulation” of the provision.
       After the Department of Homeland Security (DHS) received information from the then
President, Vice-President, three U.S. Senators from South Carolina, a DHS SBIR Program
Manager, and a DHS Contracting Officer for the SafeCon initiative, the DHS in 2007 released
the DHS S&T Cell-All Ubiquitous Biological and Chemical Sensing solicitation for a cell phone
“capable of” detecting for CBR agents and compounds.
       Using Golden’s Product Grouping strategies, the DHS contracted Apple, Samsung, LG,
Qualcomm, Synkera, NASA, Rhevision, and SeaCoast to assemble Golden’s CMDC device in a
way that will group products together by common features and design similarities.
       The DOJ & DHS has continually retaliated against Golden for 10 years (2013-2023) for

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filing a claim in the United States Court of Federal Claims for just compensation.
       It is the belief of Golden that the Trial Court Judge was acting under Duress (threats,
intimidation, or some other type of coercion) to comply with the lies the DOJ & DHS has put
before this Court.
       The reason Golden is asking the Judge to transfer the current case, is because it is a little
more complicated than Golden v. US case no. 13-307C. Exhibit A: Claim Chart of Current
Case No. 23-811C
       Golden has two disabling locking mechanism that follows the same patterns: detection;
lock; reset. The first is when a hazardous substance is detected it sends a signal to lock the
device. The second is when and unauthorized attempt (fingerprint, facial, code) to unlock the
device, a signal is sent to lock the device.
       The first pattern was identified in claim 1 of the ‘497 patent and claim 10 of the ‘752
patent. The second pattern was identified in 11 of the remaining 23 patent claims. 12 of the
patent did not call for a locking mechanism.
       The DOJ & DHS repeatedly stated in signed pleadings that Golden did not identify the
locking mechanism. That lie caused the case to be dismissed.
       Exhibit B: Illustration of Damages




                                                      Sincerely,



                                                      s/ Larry Golden
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                         CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 19th day of July, 2023, a true
and correct copy of the foregoing “Plaintiff’s Motion to Disqualification”, was
served upon the following Defendant by priority “express” mail:


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